                                    Exhibit B

                                   BDO Report




Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 1
                                       of 88
 Assessment of McKinsey & Company, Inc.’s Procedures to
Disclose Connections in Accordance with the Baker Protocol
   in the PG&E Corporation and Pacific Gas and Electric
                     Company Bankruptcy Cases




                        BDO USA, LLP Report


                           February 26, 2020




Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 2
                                       of 88
                                  TABLE OF CONTENTS

      Defined Terms………………………………………………………………………... 3

I     Introduction
      A. Scope of Retention……………………………………………………………….. 6
      B. Limitations of Analysis Performed………………………………………………. 6

II    Summary of Findings and Opinion……………………………………………………8

III   Background………………………………………………………………………….. 11

IV    Assessment of The Working Group’s Procedures to Disclose
      Connections Based on Original IPL
      A. Review and Expansion of the Debtors’ Original IPL
           1. Review of Debtors’ Original IPL…………………………………………. 14
           2. Expansion of Debtors' Original IPL………………………………………. 17

      B. Identified Direct Connections
           1. Identified the Proposed Professionals……………………………………… 19
           2. Identify the Proposed Professionals' Third-Party Relationships……………20
           3. Compare Expanded IPL Based on Original IPL to Third Parties with
               Connections to the Proposed Professionals……………………………….. 23
           4. Surveys Distributed………………………………………………………… 24

      C. Identify Indirect Connections Arising from Asset Management Affiliates……… 27

      D. Disclosure of Revenues In Excess of 1% for Clients for Proposed Professionals..28

V     Assessment of The Working Group’s Procedures to Disclose
      Connections on the Updated IPL Received December 20, 2019
      A. Review and Expansion of the Updated IPL……………………………………… 30
      B. Compare Updated IPL to Third Parties with Connections to the Proposed
         Professionals………………………………………………………………………30
      C. BDO Review and Testing…………………………………………………………31
      D. Surveys Distributed to DCS’ Based on the Updated IPL…………………………31
      E. Surveys Distributed to Engagement CSPs Based on the Updated IPL……………31

VI    BDO Assessment of Krivin Declaration Dated February 26, 2020 …………………33

Exhibits
A      Baker Protocol
B      Firm-Wide CSP Survey
C      DCS Survey
D      Engagement CSP Survey



                                               2

Case: 19-30088      Doc# 5924-2     Filed: 02/26/20    Entered: 02/26/20 21:37:07      Page 3
                                            of 88
                                               DEFINED TERMS1


•     AMA: The Protocol defines Asset Management Affiliates to be “an affiliate or division of a
      Proposed Professional that is actively engaged in managing or owning financial
      investments.”

•     Baker Protocol (“Protocol”): Exhibit A to McKinsey Recovery & Transformation Services
      U.S., LLC’s Eighth Status Report in Accordance with Order on Joint Motion in Furtherance
      of Mediation Agreement [Dkt 1427], dated May 31, 2019 filed in the Westmoreland Coal
      Company, et al., bankruptcy case no. 18-35672. The Protocol “addresses the complex legal
      and business issues surrounding the disclosure obligations arising from a Proposed
      Professional’s retention under Section 327 in bankruptcy cases involving more than $50
      million in claims.”2

•     BDO Report: This report dated February 26, 2020 prepared by BDO USA, LLP (“BDO”)
      regarding BDO’s assessment of McKinsey & Company’s Inc.’s procedures to disclose
      Connections in accordance with the Baker Protocol in the PG&E Corporation and Pacific
      Gas and Electric Company Bankruptcy cases.

•     Client Serving Professional (“CSP”): McKinsey professional that provides services to
      clients. CSPs provide either consulting services directly for clients or indirect services such
      as internal research for project teams.

•     Connection: The Protocol defines Connection to be an “association or relationship with an
      IPL Party that a reasonable person might find bears on whether the Proposed Professional
      ‘holds or represents an interest adverse to the estate’ and is ‘disinterested’ under Section 327
      of the Bankruptcy Code.”

•     Debtors: See definition for PG&E below.

•     Direct Connection: The Protocol defines Direct Connection to be “a known Connection
      between a Proposed Professional and an IPL Party.”

•     Director of Client Service (“DCS”): Project leader assigned to client projects responsible
      for maintaining the client relationship and the overall execution of the project. There can be
      multiple DCSs working on different projects for an individual client.

•     Expanded Interested Parties List (“Expanded IPL”): The additional entities consisting of
      related parties such as corporate parents or subsidiaries voluntarily added to the Original and
      Updated Interested Parties Lists by the Proposed Professionals.



1
    Defined Terms from the Baker Protocol as are stated in the Protocol’s Defined Terms, pages 3-4.
2
    Baker Protocol, Summary, page 1.

                                                           3

Case: 19-30088            Doc# 5924-2         Filed: 02/26/20        Entered: 02/26/20 21:37:07       Page 4
                                                      of 88
•   Gross Office Contribution (“GOC”): A unique identification code assigned to each
    McKinsey office. Each GOC is associated with a McKinsey legal entity.

•   Indirect Connection: The Protocol defines Indirect Connection to be “a known Connection
    between an IPL Party and a Proposed Professional’s Unretained Affiliate (including an
    AMA)” or “a known Connection arising from a relationship between a Proposed
    Professional’s Unretained Affiliate (including an AMA) and a third party, which third party,
    in turn, has a Connection with an IPL Party.”

•   Interested Parties (“IPs”): Entities included on the PG&E IPL.

•   Krivin Declaration: Refers to the Declaration of Dmitry Krivin in Support of the Debtors’
    Application Pursuant to 11 U.S.C. Section 363(b) and 105(a) for Authority to Enter into,
    Perform Under and Make Payments Under Certain Consulting Contracts with McKinsey &
    Company, Inc. United States.

•   Look-Back Period: January 29, 2016 through September 30, 2019.

•   Original Interested Parties List (“Original IPL”): The Protocol defines IPL to be “a list
    of parties with connections to the debtor’s estate (other than de minimis connections).” In
    this report, IP refers to the interested parties listed on the PG&E IPL provided by the
    Debtors’ on October 1, 2019. See below for the definition of the Updated IPL.

•   PG&E: Refers to PG&E Corporation (“PG&E Corp.”) and its primary operating subsidiary,
    Pacific Gas and Electric Company (together with PG&E Corp., “PG&E” or the “Debtors”)
    Chapter 11 bankruptcy cases in the United States Bankruptcy Court for the Northern District
    of California.

•   PG&E Interested Parties List (“PG&E IPL”): List of interested parties provided by
    PG&E in the bankruptcy cases, including both the Original IPL and Updated IPL.

•   Post-Petition Period: Refers to the time period January 30, 2019 through September 30,
    2019

•   Proposed Professionals: The Protocol defines Proposed Professional to be “a professional
    person or entity proposed to be retained in connection with a pending bankruptcy case under
    Section 327.” For McKinsey in the PG&E bankruptcy case, they include McKinsey &
    Company, Inc. United States (“McKinsey US”), McKinsey & Company Canada/McKinsey
    & Compagnie Canada (“McKinsey Canada”) and McKinsey Restructuring and
    Transformation Services U.S., LLC (“RTS”), also called the Retained Affiliates.

•   Proposed Professional Personnel: The Protocol defines Proposed Professional Personnel to
    be “the primary working group within a Proposed Professional entity that directly provides
    the services for which the Proposed Professional is retained in the particular bankruptcy case,
    excludes personnel that only episodically provide such services.” For the Proposed


                                                 4

Case: 19-30088      Doc# 5924-2       Filed: 02/26/20    Entered: 02/26/20 21:37:07        Page 5
                                              of 88
    Professionals, this refers to the engagement team as described in the Krivin Declaration
    paragraph 9.

•   Revenue Period: Refers to the time period from February 1, 2018 through January 31, 2019.

•   RTS: Refers to McKinsey Restructuring and Transformation Services U.S., LLC.

•   S&P Capital IQ: A market intelligence platform designed by Standard and Poor’s (“S&P”)
    that utilizes software and analytics to consolidate detailed company information for U.S. and
    international public and private companies and investment firms. Additionally, Capital IQ is
    a database that houses data related to corporate ownership including corporate families.

•   Service Contracts: Refers to three McKinsey consulting and operational contracts with the
    Debtors.

•   The Working Group: Refers to the working group described in the Krivin Declaration
    paragraph 10.

•   Unretained Affiliate: The Protocol defines an Unretained Affiliate to be “an affiliate of a
    Proposed Professional other than a Retained Affiliate.”

•   Updated IPL: Refers to the updated IPL received from Debtors’ counsel on December 20,
    2019.




                                                5

Case: 19-30088      Doc# 5924-2      Filed: 02/26/20     Entered: 02/26/20 21:37:07       Page 6
                                             of 88
                                           I.      INTRODUCTION

A. Scope of Retention

          BDO USA, LLP (“BDO”), was retained by McKinsey Restructuring and Transformation

Services U.S., LLC (“RTS”) as an independent third party to assess the reasonableness and

adequacy of the Proposed Professionals’ procedures to identify and appropriately disclose

Connections in accordance with the Baker Protocol in the PG&E Corporation (“PG&E Corp.”)

and its primary operating subsidiary, Pacific Gas and Electric Company (together with PG&E

Corp., “PG&E” or the “Debtors”) Chapter 11 bankruptcy cases in the United States Bankruptcy

Court for the Northern District of California.


B. Limitations of Analysis Performed

          The data and information referenced herein3 regarding The Working Group’s procedures

to review its connections to the PG&E Interested Parties List (both the Original IPL and Updated

IPL), and all the information we considered and tested, was provided to us by The Working

Group’s personnel or through data available on the S&P Capital IQ platform.4

          The analysis performed by BDO, and any resulting findings and conclusions, are based

on the information made available to us. New information that might be provided to us

subsequent to the issuance of this report (the “BDO Report”) could affect the results or our

analysis or conclusions. We reserve the right to update the BDO Report to reflect any new

information which becomes available to us subsequent to the date of the issuance of the BDO

Report.




3
  The Working Group provided BDO with all data requested by BDO.
4
  BDO did not conduct audits of financial records as required by Generally Accepted Auditing Standards on any of
the materials in the BDO Report that we obtained from The Working Group.

                                                        6

Case: 19-30088         Doc# 5924-2         Filed: 02/26/20        Entered: 02/26/20 21:37:07             Page 7
                                                   of 88
       BDO understands that the BDO Report will be disclosed in the Krivin Declaration in

connection with the PG&E bankruptcy matter, but should not be used for any other purpose.




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Case: 19-30088     Doc# 5924-2      Filed: 02/26/20   Entered: 02/26/20 21:37:07      Page 8
                                            of 88
                          II.      SUMMARY OF FINDINGS AND OPINIONS

        The Proposed Professionals developed and implemented reasonable and adequate

procedures in accordance with the general guidelines and recommendations included in the

Protocol to identify and disclose Connections. These procedures included the review and

expansion of the Original IPL and Updated IPL, the identification of Direct Connections arising

from the Proposed Professionals, and the identification of Indirect Connections arising from

Unretained Affiliates.

        The Working Group utilized the Original IPL, which contained 10,8105 entities, and

voluntarily performed additional procedures to expand the Original IPL to include all corporate

affiliates and related parties that shared a common parent with each corporate party listed on the

Original IPL.6

        In accordance with the Protocol, The Working Group developed reasonable and adequate

procedures to identify and appropriately disclose Direct Connections to 1,717 unique Interested

Parties on the IPL.7 The Working Group procedures included:

    •   Identifying the Proposed Professionals,
    •   Gathering Proposed Professionals’ client, vendor, and banking relationship information,
    •   Comparing the relationship information to the Expanded IPL, and
    •   Sending out surveys to Proposed Professional Personnel and reviewing the responses.

        The Proposed Professionals were identified based upon professional time charged to the

Debtors during the Post-Petition Period for client facing activities.



5
  After The Working Group performed various procedures described in Section IV.A to remove duplicate IPL
parties, the number of Original IPL parties was reduced to 9,598 unique entities.
6
  The Proposed Professionals received the Updated IPL on December 20, 2019. The Updated IPL contained 11,021
entities or 211 new parties not included in the Original IPL. The Working Group performed similar procedures for
the 211 new entities added to the Updated IPL to include in the Expanded IPL. See Section V of the BDO Report
for additional information.
7
  The Original IPL contained 1,684 unique Interested Parties and 33 additional unique Interested Parties were added
based on the Updated IPL that were Connections to the Proposed Professionals’ clients and vendors.

                                                         8

Case: 19-30088          Doc# 5924-2         Filed: 02/26/20        Entered: 02/26/20 21:37:07             Page 9
                                                    of 88
        The Working Group extracted the Proposed Professionals’ client, vendor, and banking

relationships from various in-house systems during the Look-Back Period. The Working Group

then compared these entities against the Expanded IPL to identify Connections, which resulted in

the identification of client Connections for 975 Interested Parties8, vendor Connections for 723

Interested Parties, and bank relationships for 19 Interested Parties, which were appropriately

disclosed.

        The Working Group sent three different surveys to groups of employees: the Firm-wide

CSP Surveys, the DCS Surveys, and the Engagement CSP Surveys, which are discussed in more

detail in the following paragraphs.

        First, in accordance with the Protocol, The Working Group developed reasonable and

adequate procedures to identify and appropriately disclose Direct and Indirect Connections for

Interested Parties by sending questionnaires to Proposed Professionals’ and Unretained

Affiliates’ CSPs (the “Firm-wide CSP Surveys”) and inquiring whether the professionals had

Connections to the Debtors, the U.S. Trustee, or the bankruptcy judges in the United States

Bankruptcy Court for the Northern District of California.

        Second, The Working Group sent a survey to all the Directors of Client Services (the

“DCS Surveys”) for each Proposed Professionals’ client relationships identified from the

Expanded IPL to determine whether the client Connection had any relation to the Debtors.

Based upon the results of the surveys, The Working Group identified no clients with a

Connection to the Debtors.




8
 There were client connections for 952 Interested Parties based on the Original IPL and 23 additional client
connections were added based on the Updated IPL. There were vendor connections for 713 Interested Parties based
on the Original IPL and 10 additional vendor connections were added based on the Updated IPL.

                                                       9

Case: 19-30088        Doc# 5924-2         Filed: 02/26/20       Entered: 02/26/20 21:37:07            Page 10
                                                   of 88
           Third, The Working Group sent the Original IPL and surveys to each professional that

charged time during the Post-Petition Period to the Debtors (the “Engagement CSP Surveys”) to

identify any personal Connections. Based upon the results of the surveys, The Working Group

identified two professionals with a personal Connection to the Debtors, which were appropriately

disclosed.9

           In accordance with the Protocol, The Working Group developed reasonable and adequate

procedures to identify and appropriately disclose Indirect Connections for Interested Parties by

reporting on its AMA Connections to the Expanded IPL, of which Indirect Connections for 198

Interested Parties were identified and appropriately disclosed.




9
    See Section IV.B.4 for further information on the surveys and results.

                                                           10

Case: 19-30088            Doc# 5924-2         Filed: 02/26/20         Entered: 02/26/20 21:37:07   Page 11
                                                       of 88
                                           III.     BACKGROUND

        On January 29, 2019, PG&E filed voluntary Chapter 11 petitions in the United States

Bankruptcy Court for the Northern District of California.

        On May 31, 2019, RTS filed the Protocol with the Bankruptcy Court in the

Westmoreland Coal Company case.10 The Protocol was developed by Jan Baker and Paul

Singerman for review of connections in bankruptcy cases. The Protocol “… provides general

guidance regarding how Proposed Professionals may obtain information and make proper

disclosures to support their retention in U.S. bankruptcy cases that are within the scope of the

Protocol.”11 The Protocol states that a Proposed Professional should perform the following

general procedures to obtain knowledge regarding potential Connections in support of its

disclosures:

     1. Obtain and review the IPL,

     2. Establish a process to check a Proposed Professional’s client database,

     3. Distribute the IPL to Type 2, 3 and 4 Asset Management Affiliates (“AMAs”) and

        request them to report any Connections to the Proposed Professional, and

     4. Send written inquiries (e.g., Questionnaires) to the Proposed Professional’s professional

        personnel and Unretained Affiliates.12

        The Protocol focuses on a Proposed Professional’s disclosures regarding Connections to

parties identified on the debtor’s interested party list, which could impact the Proposed

Professional’s disinterestedness. The Protocol distinguishes between Direct and Indirect


10
   Application of Debtors Pursuant to 11 U.S.C. §§ 363(b) and 105(a) For Authority To Enter Into, Perform Under
And Make Payments Under Certain Consulting Contracts With McKinsey & Company, Inc. United States,
DI#3919, filed 9/17/19 (pages 11-12).
11
   Baker Protocol, Introduction (page 6).
12
   Baker Protocol, Section 7 “Determination of Whether a Connection Exists” (page 12).

                                                       11

Case: 19-30088        Doc# 5924-2         Filed: 02/26/20        Entered: 02/26/20 21:37:07            Page 12
                                                   of 88
Connections arising from the different kinds of affiliates of the Proposed Professional.13 The

Protocol also acknowledges that Proposed Professionals may deviate from the suggested data

gathering procedures and disclosure recommendations based on the facts and circumstances of a

particular matter.14 Therefore, the Protocol provides a Proposed Professional with some

flexibility to decide how to best implement the general guidance and recommendations.

         For entities with a significant number of professionals, like the Proposed Professionals,

the Protocol recommends using a software-based process to identify Connections. If a software-

based process is not available, the Protocol states the Proposed Professional “may retain an

independent third party to assess the adequacy of the alternative procedures the Proposed

Professional uses to identify and appropriately disclose Connections.”15

         On September 17, 2019, the Debtors filed an application with the Bankruptcy Court for

authority to enter into, perform under, and make payments under three consulting and

operational contracts (the “Service Contracts”) with the Proposed Professionals. Although the

Debtors do not believe that the Proposed Professionals are performing work as a “professional”

in the bankruptcy case,16 in an abundance of caution, the Debtors brought the contracts to the

Court’s attention to seek Court authority to enter into and perform under the Service Contracts 17.

The Proposed Professionals notified the Debtors that they were unwilling to accept payment for

their post-petition services unless the Debtors agreed to seek Court authority to enter into and

perform under the Service Contracts. The Proposed Professionals are voluntarily filing


13
   Baker Protocol, Sections 1-3 (pages 7-9).
14
   Baker Protocol, Introduction (page 6).
15
   Baker Protocol, Section 7 “Determination of Whether a Connection Exists” (page 13).
16
   The Proposed Professionals are providing operational consulting services rather than serving in any legal,
accounting, restructuring advisory, or other similar function, and the Proposed Professionals’ work is unrelated to
the chapter 11 restructuring.
17
   Application of Debtors Pursuant to 11 U.S.C. §§ 363(b) and 105(a) For Authority To Enter Into, Perform Under
And Make Payments Under Certain Consulting Contracts With McKinsey & Company, Inc. United States,
DI#3919, filed 9/17/19, Introduction (page 3).

                                                         12

Case: 19-30088         Doc# 5924-2          Filed: 02/26/20        Entered: 02/26/20 21:37:07              Page 13
                                                     of 88
disclosures of their connections in the PG&E Chapter 11 Cases for the sake of full

transparency.18

             In September 2019, RTS, on behalf of the Proposed Professionals, engaged BDO as an

independent third party to assess the reasonableness and adequacy of the Proposed Professionals’

procedures to identify and appropriately disclose Connections in accordance with the Protocol.

BDO’s procedures did not include an assessment of the adequacy of the general guidance and

recommendations within the Protocol.




18
     Ibid.

                                                  13

Case: 19-30088          Doc# 5924-2     Filed: 02/26/20   Entered: 02/26/20 21:37:07     Page 14
                                                 of 88
     IV.      ASSESSMENT OF THE WORKING GROUP’S PROCEDURES TO
              DISCLOSE CONNECTIONS

           The Proposed Professionals’ procedures for identifying relationships with the Debtors’

Interested Parties included the following:

     •     Reviewed and expanded the IPL,
     •     Identified Direct Connections arising from the Proposed Professionals, and
     •     Identified Indirect Connections arising from Unretained Affiliates, including AMAs.

A. Review and Expansion of the Debtors’ Original IPL

     1. Review of Debtors’ Original IPL

Proposed Professionals’ Procedures:

           The Protocol recommends that a Proposed Professional obtain knowledge of whether

Connections exist by obtaining and reviewing a copy of the IPL from the debtor.19 The Protocol

states that Proposed Professionals “…can reasonably and in good faith rely on the list of IPL

Parties.”20

           The Proposed Professionals received the Original IPL from PG&E’s counsel on October

1, 2019.21 The Original IPL consisted of 10,810 parties categorized into 47 distinct groupings

including, but not limited to, the following:

     •     Bank accounts
     •     Bankruptcy judges and staff in the Northern District of California
     •     Contract counterparties
     •     Officers & Directors
     •     Landlords and parties to leases
     •     Lenders
     •     Litigation counterparties / Litigation pending lawsuits
     •     Office of the United States Trustee for Region 17
     •     Significant competitors
     •     Suppliers
     •     Taxing authorities

19
   Baker Protocol, Section 1.b. (page 7).
20
   Baker Protocol, Section 7.a. (page 12).
21
   See Section V of the BDO Report for a discussion of the steps performed on the Updated IPL.

                                                       14

Case: 19-30088         Doc# 5924-2         Filed: 02/26/20       Entered: 02/26/20 21:37:07      Page 15
                                                    of 88
     •   Largest unsecured creditors
     •   Vendors / suppliers

         The Working Group performed procedures to remove duplicate Interested Parties from

the 10,810 entities on the Original IPL as follows:

     •   Used the Microsoft Excel TRIM function to remove unnecessary spaces between
         words.22
     •   Removed all comments that were included with the name of the Interested Party using
         various Excel functions and performed a subsequent manual review. For example,
         (formerly PCG management) would have been removed from “PCG Capital, Inc.
         (formerly PCG management).”
     •   Performed a “text cleansing” procedure, which utilized the Microsoft Excel
         SUBSTITUTE23 and TRIM functions to remove semi-colons, forward slashes, periods,
         commas for corporations, and to make the order of first name and last name consistent.
     •   Reviewed and reclassified each of the 10,810 parties on the Original IPL into one of the
         following three categories: 1) Corporate Parties or “Corporate IPs”, 2) Governmental
         Parties, or 3) Individuals. Note that this reclassification process was a manual process,
         and if there was any doubt, an Interested Party was classified as a Corporate IP out of an
         abundance of caution.
     •   Quantified the Interested Parties on the Original IPL by reclassified category, after
         performing the procedures above, which resulted in 5,359 Corporate Parties, 502
         Governmental Parties, and 4,949 Individuals.
     •   Utilized the Microsoft Excel REMOVE DUPLICATES24 function to identify and remove
         duplicate Interested Parties, which resulted in a reduction of the Original IPL by 846
         parties from 10,810 to 9,964 broken down as follows: 4,640 Corporate Parties, 449
         Governmental Parties, and 4,875 Individuals.
     •   Utilized a Microsoft Excel SIMILARITY25 formula to prioritize their review of the
         remaining 4,640 Corporate Parties to identify and remove additional parties determined
         to be duplicates. After prioritizing the Corporate Parties based on how similar they were,
         a manual review of those most similar was performed and additional parties determined
         to be duplicates were removed. As a result, The Working Group removed an additional
         212 Corporate Parties, which reduced the number of unique Corporate Parties on the
         Original IPL from 4,640 to 4,428.



22
   The Microsoft Excel TRIM function strips extra spaces from text, leaving only single spaces between words and
no space characters at the start or end of the text.
23
   The SUBSTITUTE function in Excel replaces one or more instances of a given character or text string with a
specified character(s).
24
   Excel provides the capability to automatically remove exact duplicates from a set of data using the REMOVE
DUPLICATES functionality.
25
   This formula compares two strings of text and returns a similarity score indicating how similar the two are.

                                                       15

Case: 19-30088         Doc# 5924-2         Filed: 02/26/20       Entered: 02/26/20 21:37:07             Page 16
                                                    of 88
     •   Utilized the S&P Capital IQ formula function in Excel to identify S&P Capital IQ
         identification numbers (“Cap IQ IDs”) for the 4,428 Corporate Parties on the Original
         IPL to be used to query each corporate tree structure. Of the 4,428 Corporate Parties
         researched, 2,954 were determined to be matches and returned the corresponding Cap IQ
         ID. The remaining 1,474 either did not return a Cap IQ ID or returned a Cap IQ ID that
         was not reasonably related to the Corporate Parties being searched.
     •   Performed a review of the 2,954 matched Cap IQ IDs to remove duplicates, which
         decreased the number of Corporate Parties on the Original IPL to research corporate tree
         information for from 2,954 to 2,800. After adding the 1,474 Corporate Parties that did
         not return a Cap IQ ID to the 2,800, the total number of unique Corporate Parties was
         4,274.

         The final number of Interested Parties on the Original IPL was determined to be 9,59826

broken down as follows: 4,274 Corporate Parties, 449 Governmental Parties, and 4,875

Individuals.

         The Working Group emailed 69 client-serving Proposed Professional Personnel to

confirm whether they were aware of any parties that should have been included on the Original

IPL. All 69 client-serving Proposed Professional Personnel responded and indicated no

additional parties needed to be added to the Original IPL. See Section IV.B.4.b for further

discussion of the surveys sent to the Proposed Professionals’ personnel.

BDO Review & Testing:

         BDO reperformed the above procedures and agreed the results to the same 10,810 entities

on the Original IPL. Based upon BDO’s review and testing of Proposed Professionals’

procedures, the Proposed Professionals’ procedures are reasonable and adequate and aligned

with the general guidelines and recommendations set forth in the Protocol.




26
  The 9,598 IPs on the Original IPL were increased based on the Updated IPL provided on December 20, 2019 to
include an additional 27 new corporate interested parties, 15 new government interested parties and 90 new
individuals resulting in 9,730 unique parties on the Updated IPL.

                                                      16

Case: 19-30088        Doc# 5924-2        Filed: 02/26/20       Entered: 02/26/20 21:37:07            Page 17
                                                  of 88
     2. Expansion of Debtors’ IPL

The Working Group Procedures:

         The Working Group elected to perform additional procedures not explicitly

recommended by the Protocol to expand the Original IPL for Corporate Parties to include

corporate affiliates and related parties.

         The Working Group elected to expand the Original IPL to include all corporate affiliates

that shared a common parent with each Corporate Party listed on the IPL (the “Expanded IPL”)

increasing the number of unique IPL Parties to 190,13927. Including Corporate Parties’ affiliates

provided a larger number of parties that might generate Connections. The Working Group

expanded the IPL using the following process:

     •   Utilizing the Cap IQ IDs for the 2,800 Corporate Parties identified above, The Working
         Group performed research in S&P Capital IQ to identify the Cap IQ IDs for each of the
         Ultimate Parent Companies for purposes of expanding the Original IPL.
     •   The Working Group created watch lists (company screening lists) in S&P Capital IQ
         using the Cap IQ IDs for each of the Ultimate Parent Companies, which were designed to
         capture for all subsidiary and investment companies, the following information: company
         name, company Cap IQ ID, immediate parent company, known ownership percentage,
         and the ultimate parent company, company status (operating, acquired, subsidiary,
         liquidating, reorganizing, out of business, no longer investing), and type of company.
     •   After aggregating the corporate affiliate trees for the Corporate Parties with the 449
         Governmental Parties and the 4,875 Individuals, there were 677,065 Interested Parties
         included on the Expanded IPL based on the Original IPL.
     •   The Working Group removed several Corporate Parties where the percentage ownership
         in the related entity was less than 20%, reducing the Expanded IPL based on the Original
         IPL by 44,310 from 677,065 to 632,755.
     •   The Working Group removed duplicate Corporate Parties using Alteryx Designer,28
         which resulted from certain Interested Parties being part of multiple corporate trees. At
         this stage, the Expanded IPL of 632,755 parties was further reduced by 442,616 to
         190,139 unique Interested Parties.



27
   The 190,139 unique IPL parties increased to 192,007 based on the Updated IPL (see Section V of the BDO
Report). The Updated IPL added 1,763 corporate entities, 15 government entities and 90 individuals.
28
   Alteryx Designer is a software platform that allows the user to process large volumes of data.

                                                      17

Case: 19-30088        Doc# 5924-2         Filed: 02/26/20       Entered: 02/26/20 21:37:07            Page 18
                                                   of 88
         The Working Group used the Expanded IPL based on the Original IPL in its procedures

to identify Direct and Indirect Connections.

BDO Review & Testing:

         BDO utilized S&P Capital IQ to extract corporate affiliate trees for a sample of Corporate

Parties on the Original IPL and agreed the results to parties present on the Proposed

Professionals’ Expanded IPL based on the Original IPL.

B. Identified Direct Connections

         The Working Group performed four procedures to identify Direct Connections to the

Original IPL as follows:29

     •   Identified the Proposed Professionals,
     •   Obtained client, vendor, and banking information for the Proposed Professionals,
     •   Compared the client, vendor, and banking information to the Expanded IPL for
         Connections, and
     •   Surveyed the Proposed Professionals’ Personnel to obtain information on their personal
         Connections, if any.

         The Proposed Professionals developed reasonable and adequate procedures in accordance

with the Protocol to identify its relationships with clients, vendors, and banks and compared

those relationships to the Expanded IPL based on the Original IPL, resulting in the disclosure of

Connections to 1,684 unique Interested Parties as follows:30

     •   Client Relationships:               952 Connections
     •   Vendor Relationships:               713 Connections
     •   Banking Relationships:              19 Connections




29
   The Protocol Section 7.b., page 12, recommends that a Proposed Professional obtain knowledge of whether Direct
Connections exist by performing the following two procedures: (1) perform a process to check such Professional’s
client databases for Connections, and (2) distribute the IPL to its Proposed Professional Personnel, request them to
report any Connections (other than de minimis connections), and disclose in its retention application all Connections
so reported.
30
   See Section V for a discussion of the additional work performed by The Working Group to identify Connections
based on the Updated IPL received December 20, 2019.

                                                         18

Case: 19-30088         Doc# 5924-2          Filed: 02/26/20        Entered: 02/26/20 21:37:07              Page 19
                                                     of 88
   1. Identified the Proposed Professionals

The Working Group Procedures:

       In accordance with the Protocol, The Working Group identified Direct Connections in the

PG&E bankruptcy case by contacting the Proposed Professionals’ Personnel. The Working

Group utilized the PG&E project codes to identify the Proposed Professionals’ personnel using

the following process:

       First, the Proposed Professionals’ Finance Department ran a query using its time and

expense system to identify 73 CSPs that provided services and charged hours to the PG&E

project codes during the Post-Petition Period. The Proposed Professionals’ professionals record

their hours charged to unique project charge codes. Through their Oracle financial system, the

Proposed Professionals’ Finance Department and local office management create and approve

project codes, which are used to track information such as the hours charged and the Gross

Office Contribution (“GOC”).

       Second, The Working Group reviewed the list of 73 CSPs who charged hours to the

PG&E project codes, which included both client facing and non-client facing professionals (e.g.

people that provided research or general support).

       The Working Group identified 4 CSPs who charged hours to PG&E for general support

or research (non-client facing) and 69 client facing professionals. The Working Group

determined the work location and associated Proposed Professional legal entity for the 69 client-

facing CSPs by reviewing each professional’s GOC code. The Working Group then used the

Proposed Professionals’ client, vendor and banking relationship information to identify the

Proposed Professionals’ Connections to parties on the Expanded IPL based on the Original IPL.




                                               19

Case: 19-30088     Doc# 5924-2      Filed: 02/26/20     Entered: 02/26/20 21:37:07       Page 20
                                             of 88
BDO Review & Testing:

       BDO reviewed the query utilized by The Working Group to extract the project code data

and reviewed the resulting extracted information. BDO also reperformed The Working Group’s

procedures to determine the Proposed Professional personnel that were used to develop the list of

Proposed Professionals. Based upon BDO’s review and testing of The Working Group’s

procedures, BDO determined that the Proposed Professionals’ procedures were reasonable and

adequate to identify the Proposed Professionals in accordance with the Protocol.

   2. Identify the Proposed Professionals’ Third-Party Relationships

       The Protocol recommends that Proposed Professionals check their firms’ internal

databases for Connections to clients. In addition to checking client databases, The Working

Group decided to perform additional procedures not explicitly recommended by the Protocol to

check its internal databases for vendor and banking relationships. In order to identify third-party

relationships for comparison to the Expanded IPL based on the Original IPL, The Working

Group obtained information from their Finance and Treasury Departments on its clients, vendor

and banking relationships for the Proposed Professionals for the Look-Back Period.

       The Proposed Professionals’ client and vendor relationship data is maintained by their

Finance Department within its Oracle financial system database, which contains all of the firm’s

client, project-related data and vendor information. The Proposed Professionals’ vendor

database maintains invoice line item level data and general ledger accounting details. This

database is updated daily with an automated feed from the Oracle payment data and tracks

vendor payments to the legal entity submitting the payment.




                                                20

Case: 19-30088      Doc# 5924-2      Filed: 02/26/20     Entered: 02/26/20 21:37:07        Page 21
                                              of 88
         The Proposed Professionals’ banking relationship information, including all bank

accounts, is contained within its Kyriba31 database maintained by the Proposed Professionals’

Corporate Treasury Department. When a new banking relationship is established, or when an

existing bank account is closed, the U.S. Corporate Treasury team updates Kyriba with the

appropriate information. The global list of bank accounts is reviewed annually by the Proposed

Professionals’ legal entities and local offices.

The Working Group’s Procedures:

         a. Client Relationships

         The Working Group obtained the Proposed Professionals’ project codes to identify the

Proposed Professionals’ clients for comparison to the Expanded IPL based on the Original IPL.

The Working Group collected the client data for CSPs related to the Proposed Professionals

during the Look-Back Period as follows:

     •   The Working Group used the Reporting Data Warehouse interface within its Oracle
         financial system database to extract all project codes worked on by CSPs from the
         Proposed Professionals. This file represents all projects where a Proposed Professionals’
         professional charged time, regardless of location.
     •   The Working Group also used the Reporting Data Warehouse interface to extract all
         project codes assigned to Proposed Professionals’ office locations belonging to each of
         the Proposed Professionals.

         The Working Group combined both sets of data files resulting in a total population of

26,888 project codes and 9,473 clients for comparison against the Expanded IPL based on the

Original IPL.




31
  Kyriba is a treasury management cloud-based solution which provides cash management technology on a global
scale. The database stores information relating to account balances, transactions, as well as supporting
documentation as accounts are opened and closed.

                                                     21

Case: 19-30088        Doc# 5924-2        Filed: 02/26/20       Entered: 02/26/20 21:37:07           Page 22
                                                  of 88
       b. Vendor Relationships

       The Working Group obtained vendor relationship information for the Proposed

Professionals’ during the Look-Back Period for comparison to the Expanded IPL based on the

Original IPL. The Working Group utilized the Alteryx Designer platform to extract vendor data

from its Oracle database for the Proposed Professionals. The extracted data included details such

as vendor name, payment date, invoice type, and legal entity making the payment. The Working

Group identified 13,646 vendors for comparison against the Expanded IPL based on the Original

IPL.

       c. Banking Relationships

       The Working Group obtained the Proposed Professionals’ banking relationship

information during the Look-Back Period for comparison to the Expanded IPL based on the

Original IPL. The Working Group collected the banking relationship data as follows:

   •   First, The Working Group extracted all bank accounts (both open and closed) by
       exporting the Kyriba data directly into Microsoft Excel, which yielded 1,201 bank
       accounts. For each bank account, the extracted data included details such as the legal
       entity controlling the account and the financial institution managing the account.
   •   Second, within Microsoft Excel, The Working Group manually filtered the account
       listing by legal entity to focus on the accounts held by the Proposed Professionals,
       resulting in 26 distinct accounts.
   •   Third, since a single bank could involve multiple accounts with similar names, The
       Working Group manually searched the listing to identify unique bank names, which
       resulted in 19 banking relationship Connections to the Expanded IPL based on the
       Original IPL.

BDO Review & Testing:

       BDO discussed The Working Group’s process with the Proposed Professionals’ Finance

Department personnel with first-hand knowledge of client and vendor reporting data and the

systems used firm-wide to store client and vendor information. BDO also reviewed the queries

used by The Working Group to extract the client and vendor data during the Look-Back Period.

                                               22

Case: 19-30088     Doc# 5924-2      Filed: 02/26/20    Entered: 02/26/20 21:37:07        Page 23
                                             of 88
Based upon our review and testing, the queries used were accurate to identify the relevant client

and vendor data to check for Connections.

         BDO also discussed banking relationship data and the systems used by The Working

Group to store banking relationship information with the Proposed Professionals’ Treasury

Department personnel. BDO reviewed the queries used by The Working Group to extract the

banking data during the Look-Back Period. Based upon our review and testing, the queries used

were accurate to identify the relevant banking data to check for Connections.

     3. Compare Expanded IPL Based on Original IPL to Third Parties with Connections to the
        Proposed Professionals

The Working Group Procedures:

         The Working Group used the client, vendor and banking relationship lists to perform the

following procedures:

     •   The Working Group compared the Expanded IPL based on the Original IPL to the client,
         vendor and banking relationships using various keyword searches to expedite the
         comparison to this Expanded IPL. However, the actual comparison process between the
         names on this Expanded IPL and the client, vendor and banking relationship lists was
         primarily a manual process.
     •   The manual comparison process performed by The Working Group included researching
         publicly available information to determine whether a potential match was the same as
         the entity on the Expanded IPL based on the Original IPL. There were instances where
         The Working Group was unable to determine whether a potential match was the same
         party noted on this Expanded IPL. In those instances, The Working Group included the
         party as a match.
     •   The Working Group combined all client names and related project codes, banking names,
         and vendor names for confirmed matches, resulting in client Connections for 952
         Interested Parties, vendor Connections for 713 Interested Parties and banking
         Connections for 19 Interested Parties on the Original IPL.32




32
  See Section V for a discussion of the additional work performed by The Working Group to identify Connections
based on the Updated IPL received December 20, 2019.

                                                      23

Case: 19-30088        Doc# 5924-2         Filed: 02/26/20       Entered: 02/26/20 21:37:07            Page 24
                                                   of 88
BDO Review & Testing:

         BDO reviewed The Working Group’s comparison of the Expanded IPL based on the

Original IPL to the lists of vendor, client, and banking relationships, and tested a sample of

searches where Connections were either identified or not identified, without exceptions.

     4. Surveys Distributed

The Working Group’s Procedures:

         The Working Group prepared and distributed three separate surveys to groups of its

professionals to collect information on potential Connections to PG&E as part of the process to

compare its Connections to the Expanded IPL based on the Original IPL, as follows:33

     •   Firm-Wide CSP
     •   DCS Survey
     •   Engagement CSP Survey

         a. Firm-Wide CSP Survey

         The Proposed Professionals’ Human Resources (“HR”) Department extracted the

distribution list of all CSPs globally by querying its HR system for professionals listed as having

a CSP type role. Rather than limit the distribution of the CSP survey to subsidiaries or affiliates

controlled by the Proposed Professionals as suggested in the Protocol, The Working Group

elected to survey all firm CSPs. As such, The Working Group sent email surveys to all 18,664

CSPs located globally. CSPs were required to respond to the survey if they had any such

Connections to report. If the survey recipients identified Connection(s), the survey instructed the

recipient to describe the nature of such connection(s).




33
  For purposes of the BDO Report, BDO requested that The Working Group provide the content of the survey
template, including references to the mandatory fields and instructions. BDO reviewed the on-line survey to
confirm they matched.

                                                       24

Case: 19-30088        Doc# 5924-2         Filed: 02/26/20        Entered: 02/26/20 21:37:07            Page 25
                                                   of 88
         The CPSs were asked to disclose the following:

     •   Debt, equity securities, or other claims against PG&E (other than third-party managed
         investments) at any time after 90 days prior to the Petition Date (October 31, 2018), and
     •   Any Connections to any of the Bankruptcy Judges, the U.S. Trustee or any person
         employed by the Office of the U.S. Trustee for the Northern District of California.34

         Based upon the results of the surveys, The Working Group identified six professionals

that did or do hold PG&E securities, two professionals that were former employees and four

professionals with personal connections to Interested Parties, which were appropriately

disclosed.35

         The Working Group reviewed the responses to determine whether the response identified

a Connection and appropriately disclosed the Connection(s). The Firm-Wide CSP survey

template is attached to the BDO Report as Exhibit B.

         b. DCS Survey

         The Working Group sent e-mail surveys to 1,270 DCSs to confirm whether the project(s)

associated with the client matches, to the best of the DCSs’ knowledge, were in any way related

to PG&E. The surveys included a list of relevant engagement projects, as well as the list of

PG&E and its debtor affiliates for their review. If the DCS answered “yes” to any one of the

questions on the survey, the respondent was asked to describe how the services were related to

PG&E.36


34
   The Protocol, Section 7.c., page 13, recommends that a Proposed Professional obtain knowledge of whether
Connections exist by distributing questionnaires to Proposed Professional’s professional personnel and Unretained
Affiliates controlled by the Proposed Professional inquiring of their (i) known equity or debt investments in the
debtor (e.g., excluding Third-Party Managed Investments); and (ii) other connections or relationships with the
debtor (other than the Proposed Professional’s proposed engagement), the Bankruptcy Court judges, or United
States Trustee personnel.
35
   None of these six professionals worked on the engagement with the Debtors and the value of their stock was de
minimis.
36
   Nineteen of the respondents surveyed reported a potential client connection with PG&E. The Working Group
reviewed the responses and determined that none of the nineteen potential client connections were indeed
Connections.

                                                        25

Case: 19-30088         Doc# 5924-2         Filed: 02/26/20        Entered: 02/26/20 21:37:07             Page 26
                                                    of 88
         The Working Group developed a process to track survey responses and, where necessary,

to obtain additional information on client relationships.37 The DCS survey template is attached

to the BDO Report as Exhibit C.

         c. Engagement CSP Survey

         The Working Group distributed the Original IPL and e-mail surveys to 69 client serving

Proposed Professional Personnel previously identified. The survey recipients were asked to

identify:

     •   Whether the CSP has any personal Connections with any parties on the Original IPL
         (other than Connections through their work at the Proposed Professionals),
     •   Whether the CSP was aware of any person or entity not included on the Original IPL38
         that they think should have been included because it is an interested party in PG&E’s
         bankruptcy (for example, because it is or was a creditor of, or has or had some other
         business Connection to PG&E, PG&E’s assets, or the work being performed by the
         PG&E team), and
     •   Whether the CSP was related to or had a relationship with any of the MIO Partners, Inc.’s
         (“MIO”) directors (listed in the body of the email) in their capacities as MIO board
         members.

         The Working Group received responses from all currently employed survey recipients. If

the survey recipient identified a Connection or Connections, the survey instructed the recipient to

describe the name of each Connection(s). The Working Group reviewed the survey responses to

determine whether the response identified a Connection and appropriately disclosed the

Connection(s). The Engagement CSP survey template is attached to the BDO Report as Exhibit

D.




37
   BDO asked The Working Group to provide the content of the survey template, including the references to the
mandatory fields and instructions, to include as an Exhibit to its report.
38
   The Working Group provided the Original IPL as an attachment to the survey and to the email communication.

                                                      26

Case: 19-30088        Doc# 5924-2         Filed: 02/26/20       Entered: 02/26/20 21:37:07            Page 27
                                                   of 88
BDO Review & Testing:

         BDO reviewed the survey templates39 and the survey distribution lists that were sent to

the list of Firm-Wide CSPs,40 the DCS Surveys and the Engagement CSP Surveys. BDO also

sampled responses to these surveys to ascertain whether The Working Group conducted a

reasonable process to review identified Connections arising from the surveys. Based on BDO’s

review of the procedures performed by The Working Group, the procedures were reasonable and

adequate in identifying the Proposed Professionals’ Personnel’s Connections.

C. Identify Indirect Connections Arising from Asset Management Affiliates

The Working Group Procedures:

         Based on the general guidelines and recommendations included in the Protocol, the

Proposed Professionals determined that their affiliate, MIO, is a Type 2 AMA.41 As such, as set

forth in the Protocol for a Type 2 AMA, The Working Group provided the Original IPL to MIO

and requested that it identify and report Connections to IPL Parties.42


39
   BDO asked The Working Group to provide the content of the survey templates, including references to the
instructions and mandatory fields, to include as Exhibits to the BDO Report. BDO also reviewed the online survey
to confirm the surveys matched.
40
   The Protocol Section 7.b., page 13, recommends that the Proposed Professional distribute the IPL to its Proposed
Professional Personnel and request them to report any Connections (other than de minimis connections) to the
Proposed Professional.
41
   According to the Protocol defined terms, pages 3-5, an AMA is an affiliate or division of a Proposed Professional
that is actively engaged in managing or owning financial investments. A Type 2 AMA means an AMA that:
     (i)       (a) employs Information Barriers, (b) is subject to both Securities Registration and Regulatory
               Oversight, and (c) obtains most or all of its assets under management from third parties (i.e., parties
               other than Related Investors [current and formed ultimate beneficial owners, employees and their
               immediate family members]);
     (ii)      obtains most or all of its assets under management from Related Investors and not from third parties,
     (iii)     does not make direct investments in Named Issuers but only, if at all, holds investments in Named
               Issuers as Third-Party Managed Investments; and
     (iv)      does not have Independent Personnel and Management.
42
   The Protocol Section 7.b., page 12, recommends the Proposed Professional distribute the IPL to its Type 2 AMAs,
request them to report any Connections (other than de minimis connections) to the Proposed Professional, and
disclose in its retention application all Connections so reported. In addition, Protocol Section 5.c., page 11, provides
that “Disclosure of known Immediate Indirect Connections (other than de minimis connections) of a Type 2 AMA
will consist of identifying the IPL Parties, if any, to which the Type 2 AMA has immediate Indirect Connections, if
and as reported by the Type 2 AMA to its related Proposed Professional. A Proposed Professional with a Type 2
AMA should provide the IPL to its Type 2 AMA, and request its Type 2 AMA to inform it of known Immediate

                                                          27

Case: 19-30088          Doc# 5924-2          Filed: 02/26/20         Entered: 02/26/20 21:37:07              Page 28
                                                      of 88
           In addition, although not required by the Protocol, The Working Group also provided the

Expanded IPL based on the Original IPL to MIO for MIO’s search for Connections to Interested

Parties.

           The Working Group identified and disclosed indirect Connections to 198 Interested

Parties through the review of a report received from its AMA. A copy of the report issued by

MIO to the Proposed Professionals to report Connections to the Expanded IPL based on both the

Original IPL and Updated IPL is attached to the Proposed Professionals’ February 26, 2020

Krivin Declaration as Schedule 3.43

BDO Review & Testing:

           Based on its understanding that MIO is a Type 2 AMA, the Proposed Professionals’

procedures were reasonable and adequate in identifying and disclosing Connections arising from

AMAs.

D. Disclosure of Revenues In Excess of 1% for Clients for Proposed Professionals

The Working Group’s Procedures:

           The Proposed Professionals’ Finance Department generated a revenue report by client for

each Proposed Professional during the Revenue Period. The Proposed Professionals identified,

and disclosed in the Krivin Declaration, clients with Connections to the Expanded IPL that

contributed more than 1.0% of revenues for each Proposed Professional. In conjunction with the

results of the surveys sent to CSPs, The Working Group determined that none of the services

performed for these clients were related to PG&E or their Chapter 11 cases.




Indirect Connections (other than de minimis connections) to IPL Parties for potential disclosure in the Proposed
Professional’s retention application pursuant to this Protocol…”
43
   The Protocol Section 7.d., page 13, provides that “A Proposed Professional should set forth in its retention
application the results reported to the Proposed Professional from its AMA’s (if applicable) search with respect to
IPL Parties (including any alternative processes or rationale for omission thereof).”

                                                         28

Case: 19-30088         Doc# 5924-2          Filed: 02/26/20         Entered: 02/26/20 21:37:07              Page 29
                                                     of 88
BDO Review & Testing

       BDO reperformed the test of clients generating more than 1.0% of revenues for each

Proposed Professional and determined that the Proposed Professionals properly disclosed these

clients in the Krivin Declaration.




                                              29

Case: 19-30088      Doc# 5924-2      Filed: 02/26/20   Entered: 02/26/20 21:37:07      Page 30
                                              of 88
     V.      ASSESSMENT OF THE WORKING GROUP’S PROCEDURES TO
             DISCLOSE CONNECTIONS ON THE UPDATED IPL

     The Working Group Procedures:

     A. Review and Expansion of the Updated IPL

          On December 20, 2019, the Proposed Professionals received an Updated IPL from

Debtors’ counsel. The Working Group compared the Updated IPL of 11,021 entities to the

Original IPL of 10,810 entities using the following procedures:

     •    The Working Group used the Microsoft Excel TRIM, ISERROR and VLOOKUP
          functions and identified 181 potential new IPs to be manually reviewed and categorized
          by corporate (60), government (31) or individual (90)44.
     •    The Working Group manually reviewed the 60 potential corporate connections to the
          Original IPL and identified 21 new entities on the Updated IPL to review for Connections
          to the Proposed Professionals’ client list.45
     •    For the 21 new IP entities with CapIQ IDs, The Working Group created the corporate
          trees which yielded 2,450 entities.
     •    The Working Group compared the Ultimate Corporate Parent names of the 2,450 entities
          to the 21 new interested party entities.
     •    The Working Group removed 5 names where ownership was less than 20% and 193
          duplicates from the list of 2,450 resulting in an additional 2,252 IPL entities for the
          Expanded IPL.
     •    489 of the additional 2,252 IPL entities were already included in the existing list,
          resulting in 1,763 new corporate IPL entities for the Expanded IPL.

   B. Compare Updated IPL to Third Parties with Connections to the Proposed
Professionals

          The Working Group compared the 1,763 IPL entities to the client relationships using

Alteryx Designer and identified 81 new Connections to clients.




44
   After review, The Working Group reduced the actual number of corporates and governments entities to 27 and 15,
respectively.
45
   The Working Group identified 22 entities, but one unique name did not have a CapIQ ID. This name was
manually checked against the client list and was determined not to be a Connection yielding 21 entities with CapIQ
IDs.

                                                       30

Case: 19-30088         Doc# 5924-2         Filed: 02/26/20       Entered: 02/26/20 21:37:07             Page 31
                                                    of 88
     C. BDO Review & Testing:

                  BDO reperformed The Working Group’s procedures to identify the same 2,252

new IPL parties. BDO also agreed the Proposed Professionals’ 81 new Connections identified in

the Krivin Declaration. In addition, BDO tested a sample of searches where Connections were

not identified and appropriately excluded from the Connections disclosed. Based upon BDO’s

review and testing of The Working Group’s procedures, the Proposed Professionals’ procedures

are reasonable and adequate and aligned with the general guidelines and recommendations set

forth in the Protocol.

     D. Surveys Distributed to DCS’ Based on the Updated IPL

        The Working Group sent surveys to 22 additional DCS’ to confirm whether the identified

client Connection had any relation to the Debtors. Based upon the results of the surveys, The

Working Group identified no clients with a Connection to the Debtors.

        Based upon BDO’s review of the 22 survey responses and the procedures performed by

The Working Group, the procedures were reasonable and adequate in identifying the Proposed

Professional Personnel’s Connections.

     E. Surveys Distributed to Engagement CSPs Based on the Updated IPL

        The Working Group sent the Updated IPL and e-mail surveys to 77 Engagement CSPs.46

The 77 survey recipients were asked to identify whether the CSP has any personal Connections

with any parties on the Updated IPL (other than Connections through their work at the Proposed

Professionals).




46
  The Working Group distributed the Updated IPL and e-mail surveys to the 69 previously identified Engagement
CSPs discussed on page 26 of the BDO Report and eight new Engagement CSPs that joined the PG&E engagement
after the first survey was sent, for a total of 77 Engagement CSPs surveyed. The eight new Engagement CSPs
received the Original IPL, the Updated IPL and the first and second email surveys.

                                                     31

Case: 19-30088        Doc# 5924-2        Filed: 02/26/20       Entered: 02/26/20 21:37:07           Page 32
                                                  of 88
       The Working Group received responses from the 77 survey recipients. If the survey

recipient identified a Connection or Connections, the survey instructed the recipient to describe

the name of each Connection(s). The Working Group reviewed the survey responses to

determine whether the response identified a Connection and appropriately disclosed the

Connection(s).

       Based upon BDO’s review of the 77 survey responses and the procedures performed by

The Working Group, the procedures were reasonable and adequate in identifying the Proposed

Professional Personnel’s Connections.




                                                32

Case: 19-30088      Doc# 5924-2      Filed: 02/26/20     Entered: 02/26/20 21:37:07       Page 33
                                              of 88
   VI.      BDO ASSESSMENT OF KRIVIN DECLARATION DATED FEBRUARY 26,
            2020

         Based on the procedures performed by The Working Group and reviewed and tested by

BDO as described in the BDO Report, the procedures performed by The Working Group on

behalf of the Proposed Professionals to identify Connections as disclosed in the Krivin

Declaration dated February 26, 2020 to the Bankruptcy Court in the PG&E bankruptcy case were

reasonable and adequate and consistent with the general guidelines and recommendations in the

Protocol.

         In addition, The Working Group elected to perform additional procedures not

recommended in the Protocol.

         BDO reviewed the Krivin Declaration and verified that the Connections for Interested

Parties identified by The Working Group process and procedures were disclosed.




                                                33

Case: 19-30088      Doc# 5924-2      Filed: 02/26/20    Entered: 02/26/20 21:37:07        Page 34
                                              of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 35
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 36
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 37
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 38
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 39
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 40
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 41
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 42
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 43
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 44
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 45
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 46
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 47
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 48
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 49
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 50
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 51
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 52
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 53
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 54
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 55
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 56
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 57
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 58
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 59
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 60
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 61
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 62
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 63
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 64
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 65
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 66
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 67
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 68
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 69
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 70
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 71
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 72
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 73
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 74
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 75
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 76
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 77
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 78
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 79
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 80
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 81
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 82
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 83
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 84
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 85
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 86
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 87
                                        of 88
Case: 19-30088   Doc# 5924-2   Filed: 02/26/20   Entered: 02/26/20 21:37:07   Page 88
                                        of 88
